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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


 JANSSEN BIOTECH, INC.,

                           Plaintiff,

           v.                                         No. 1:17-cv-11008

 CELLTRION HEALTHCARE CO., LTD.,                      PUBLIC REDACTED VERSION
 CELLTRION, INC., and
 HOSPIRA, INC.

                           Defendants.


     DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION IN LIMINE
     NO. 10: TO PRECLUDE EVIDENCE AND ARGUMENT REGARDING CONTRACT
                              INTERPRETATION

I.        INTRODUCTION

          The Court should exclude the testimony of Janssen expert witness Richard Lit (or any other

Janssen witnesses) regarding the interpretation of the terms of a contract between GE HyClone

and Celltrion. Mr. Lit offers opinions regarding the legal interpretation of several agreements

between Celltrion and GE HyClone, interpreting the terms “uncured breach” and “force majeure,”

and opining, for example, what he believes the contracts “restrict[],” “authoriz[e],” “contemplate,”

and “permit,” and what certain contractual “contingencies include[].” Ex. 1 (Lit Reply) ¶¶ 72–73,

78, 79.

          But “the courts have declared on countless occasions that it is the responsibility of the court

to interpret written instruments,” i.e., contracts. Hartford Accident & Indem. Co. v. Wesolowski,

305 N.E.2d 907, 909 (N.Y. 1973) (citation omitted); cf. 1:15-cv-10698, Dkt 494 (2/8/17 Tr.) at

33:2–3. And courts do not allow expert witnesses “to instruct the jury as to applicable principles

of law,” including the meaning of a contract. Marx & Co. v. Diners’ Club Inc., 550 F.2d 505, 509–
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10 (2d Cir. 1977); see also Alicea v. Machete Music, 744 F.3d 773, 786 (1st Cir. 2014); Ji v. Bose

Corp., 538 F. Supp. 2d 354, 359 (D. Mass 2008) (excluding the opinions of plaintiff’s expert—an

attorney with “long experience practicing entertainment law”—on contract interpretation).

Consistent with this, the Court should prohibit Mr. Lit—who has no legal, practical, or factual

expertise—from offering such opinions. Moreover, the Court should exclude Mr. Lit’s contract

interpretation opinions as speculation. As he is not a contract or legal expert and has no experience

or expertise with third party cell culture media vendors (e.g., GE HyClone), he has no basis for his

interpretations of the contracts or the terms, making his opinions pure speculation and thus

unhelpful to the jury.

II.        FACTUAL BACKGROUND

           Janssen alleges that two cell culture media manufactured by GE HyClone infringe claims

1 and 2 of U.S. Patent No. 7,598,083 (“the ’083 patent”). The formulae for these GE HyClone cell

culture media are proprietary to GE HyClone. E.g., Ex. 1 (Lit Reply) ¶ 70; 1:15-cv-10698, Dkt.

367 (Cho. Decl.) ¶ 5. Prior to Janssen filing suit,



                                                                    1:15-cv-10698, Dkt. 367 (Cho.

Decl.) ¶¶ 3, 5–6.

Id. ¶ 4.

           Janssen seeks lost profits damages for Defendants’ alleged infringement, and attempts to

carry its burden of proof by satisfying the four Panduit factors. Panduit Corp. v. Stahlin Bros.

Fibre Works, 575 F. 2d 1152, 1156 (6th Cir. 1978). Panduit identifies four factors aimed at

showing alleged profits “on sales [Janssen] would have made absent the infringement.” Id. One of

the Panduit factors requires Janssen to prove an “absence of acceptable noninfringing substitutes”

to the accused cell culture media. Id.


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       The right “conferred by a patent under our law is confined to the United States and its

territories, and infringement of this right cannot be predicated of acts wholly done in a foreign

country.” Rotec Indus., Inc. v. Mitsubishi Corp., 215 F.3d 1246, 1251 (Fed. Cir. 2000) (quoting

Dowagiac Mfg. Co. v. Minnesota Moline Plow Co., 235 U.S. 641, 650 (1915)). Accordingly,

defendants assert that one available, acceptable non-infringing alternative is that in the “but-for”

world they could have avoided infringement by having a third party manufacture the accused

media outside of the United States.




       Janssen’s expert Mr. Richard Lit opined that



                                                                                Ex. 1 (Lit Reply) ¶

79. According to Mr. Lit’s interpretation,

                                                              Ex. 1 (Lit Reply Rpt) ¶ 72. He also

opines that

                                                                                         Id. Mr. Lit

then opines that

                                                  Ex. 1 (Lit Reply) ¶ 78. Specifically, he



               Id. Finally, Mr. Lit opines that if Celltrion sought to




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              Ex. 1 (Lit Reply) ¶ 79.

       At his deposition, Mr. Lit admitted

                                                       Ex. 3 (Lit Dep. Tr.) at 53:10–54:18. Mr. Lit

further admitted that his opinion on this issue

                                                                                          Id. at 55:5–

17, 226:19–227:7. In addition, Mr. Lit conceded that he has no



                                                                   Id. at 57:18–24. And Mr. Lit has

no                                                                                                Ex.

3 (Lit Dep. Tr.) at 47:9–18.

III.   ARGUMENT

       The Court should preclude Mr. Lit from offering opinions on the interpretation of the

contract between GE HyClone and Celltrion because contract interpretation is outside the scope

of permissible expert testimony. It is well established that “it is the responsibility of the court to

interpret written instruments.” Hartford Accident & Indem. Co. v. Wesolowski, 305 N.E. 2d 907,

909 (N.Y. 1973) (citation omitted); see also Nadherny v. Roseland Prop. Co., Inc., 390 F.3d 44,

48 (1st Cir. 2004) (“Contract interpretation questions, under Massachusetts law, are ordinarily

questions of law for a court.”); United States v. Lupton, 620 F.3d 790, 799–800 (7th Cir. 2010)

(“the meaning of statutes, regulations and contract terms is a subject for the court, not for

testimonial experts”) (citation omitted); Fishman v. LaSalle Nat’l Bank, 6. F. App’x. 52, 55 (1st

Cir. 2001) (unpublished) (“the usual doctrine is that the judge construes contracts, even in close

cases, if only the words need be considered”); Ji v. Bose Corp., 538 F. Supp. 2d 354, 360 (D. Mass

2008) (expert “offer[ed] a legal conclusion about the effect of a term in the agreement which is


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improper and will not be admitted”). Indeed, one court observed that “every circuit has explicitly

held that experts may not invade the court’s province by testifying on issues of law.” In re Initial

Pub. Offering Sec. Litig., 174 F. Supp. 2d 61, 64 (S.D.N.Y. 2001).

         “Expert testimony is particularly inappropriate in this case, where the contract does not

require ‘scientific, technical, or other specialized knowledge’ to interpret its terms.” S.E.C. v.

Goldsworthy, No. 06-10012, 2008 WL 2943398, at *4 (D. Mass. Jan. 3, 2008). Mr. Lit’s opinions

that “contain legal argument, legal analysis, [or] legal conclusions,” such as interpreting contracts,

are “outside the permissible scope of expert opinion.” Hearts on Fire Co., LLC v. Circa, Inc., No.

14-CV-11044-DLC, 2017 WL 4364405, at *4 (D. Mass. Sept. 29, 2017).

         Mr. Lit’s opinions regarding the legal interpretation of

                                                                                               are classic examples

of improper contract interpretation. For example, Mr. Lit opines on what he believes the contracts’

provisions “specif[y],” “restrict[],” “authoriz[e],” “contemplate,” “grant,” “allow,” “provide,”

“permit,” and what certain contractual “contingencies includ[e].” Ex. 1 (Lit Reply) ¶¶ 72–73, 78,

79. He offers opinions interpreting the terms                                                             Id. at ¶ 78.

These are all classic legal construction or interpretation opinions that are not admissible.1 Ji v.

Bose Corp., 538 F. Supp. 2d at 360; S.E.C. v. Goldsworthy, No. 06-10012, 2008 WL 2943398, at

*4.

         The Court also should not allow Mr. Lit to testify on contract interpretation issues because

he lacks the foundation to offer such an opinion. Even if an appropriately qualified expert on the


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  Also, to the extent Mr. Lit is relying on and assuming the truth of what counsel told him, he should not be able to
testify on these interpretations as if they are his own opinions, rather than merely assumptions. See Dkt. 177 (Jan. 30,
2018 Hr’g Tr.) at 8:23–9:3 (“‘An expert will not be permitted to provide the jury with opinion as to legal standards.’
The Second Circuit said in Marx v. Diners’ Club, 550 F. 2d 505, 510, ‘Moreover any opinion based on erroneous
understanding of the law will be excluded because it would not be helpful to the jury as required by Federal Rule of
evidence 702(a).’”).



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law could give such opinions, Mr. Lit admitted that                               Ex. 3 (Lit Dep. Tr.)

at 53:10–12. He admitted that



                      Id. at 53:16–19, 54:3–18. Moreover, Mr. Lit has no

                                                                     Ex. 3 (Lit Dep. Tr.) at 47:9–18.

Given that Mr. Lit has no foundation on which to base an interpretation or understanding of the

contracts, especially with regard to the terms he purports to interpret, the Court should exclude Mr.

Lit’s opinions.

        In addition to his lack of expertise, Mr. Lit lacks foundation because he knows nothing

about                                                                  Ex. 3 (Lit Dep. Tr.) at 57:18–

24, and thus cannot speak to the parties’ intent in forming the contracts. Without that knowledge,

Mr. Lit has no basis to discuss the meaning of these agreements because “[t]he fundamental,

neutral precept of contract interpretation is that agreements are construed in accord with the

parties’ intent.”2 Greenfield v. Philles Records, Inc., 780 N.E. 2d 166, 170 (N.Y. 2002) (citations

omitted).

IV.     CONCLUSION

        Mr. Lit’s opinions on the interpretation of three contracts between GE HyClone and

Celltrion intrude on the province of the Court and are directed to an impermissible subject for

expert testimony. In addition, Mr. Lit lacks the foundation to offer these opinions, either by training

or by factual basis for his interpretation. Accordingly, Mr. Lit’s contract-interpretation opinions

should be excluded.



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                      Ex. 2 (CELLREM-0060910 at 920) § 19.12.



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Dated: May 18, 2018                Respectfully submitted,

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                                   and Hospira, Inc.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was filed through the electronic
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                                                        /s/ Andrea L. Martin




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